USCA Case #24-1284          Document #2072130              Filed: 08/28/2024    Page 1 of 2


                  United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                       ____________


No. 24-1284                                                 September Term, 2023
                                                                     FAA-07/09/2024 Letter
                                                   Filed On: August 28, 2024 [2072130]
Michael Solondz,

               Petitioner

        v.

Federal Aviation Administration,

               Respondent

                                         ORDER

      The petition for review in this case was filed and docketed on August 26, 2024,
and assigned the above number. It is, on the court's own motion,

       ORDERED that petitioner submit the documents listed below by the dates
indicated.

         Certificate as to Parties, Rulings, and
                                                                September 27, 2024
         Related Cases
         Docketing Statement Form                               September 27, 2024
         Procedural Motions, if any                             September 27, 2024
         Statement of Intent to Utilize Deferred
                                                                September 27, 2024
         Joint Appendix
         Statement of Issues to be Raised                       September 27, 2024
         Underlying Decision from Which Appeal
                                                                September 27, 2024
         or Petition Arises
         Dispositive Motions, if any                                October 15, 2024

It is

       FURTHER ORDERED that respondent submit the documents listed below by the
dates indicated.
USCA Case #24-1284         Document #2072130              Filed: 08/28/2024      Page 2 of 2


                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________

No. 24-1284                                                September Term, 2023

        Entry of Appearance Form (Attorneys
                                                               September 27, 2024
        Only)
        Procedural Motions, if any                             September 27, 2024
        Certified Index to the Record                              October 15, 2024
        Dispositive Motions, if any                                October 15, 2024

It is

       FURTHER ORDERED that briefing in this case be deferred pending further order
of the court.

       The Clerk is directed to transmit to respondent a copy of this order and a copy of
the petition for review.

                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Lynda M. Flippin
                                                         Deputy Clerk

The following forms and notices are available on the Court's website:

        Agency Docketing Statement Form
        Entry of Appearance Form
        Request to Enter Appellate Mediation Program (Optional)
        Notice Concerning Expedition of Appeals and Petitions for Review
        Stipulation to be Placed in Stand-By Pool of Cases (Optional)




                                          Page 2
